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In The Matter Of:
AMERICAN ZURICH INSURANCE COMPANY, ET AL vy.
J. CRISMAN PALMER, ET AL

 

WITNESS: J. CRISMAN PALMER
August 31, 2022

 

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EXHIBIT

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1 Q When was that? 1 MR. SUTTON: What I would -- and it's up to
2 A I'm trying to differentiate. Pardon me for 2 you. What I would suggest, and what's commonly
3 pausing. We moved offices about 11 years ago, so 3 done, Scott, is we just continue numerically
4 I was trying to think what office I was in at the 4 numbering as we go so that we don't have multiple
5 time. Probably 12 or 15 years ago. 5 Exhibit Is later on in time, I don't care if you
6 Q Was that a bad -- a bad faith worker's comp case? 6 do the plaintiffs or not, but --
7 A No. It was a UIM. 7 MR. HOYT: Well, that's -- [ like that
8 Q_ Did you give a deposition in that case? 8 approach, but I was going to -- well, I see where
9 A Idid. 9 you're going. [f we start with plaintiffs' 1 and
10 Q Prior to the case we're here to talk about, had 10 then you do defendants' 1, we got multiple Is.
11 you handled worker's comp bad faith cases on 11 We'll try that. And I'm going to be -- I mean, we
12 behalf of Zurich? 12 have a deposition of Mike Ab -- I don't know how
13 A No. 13 to say it.
14 Q_ This was a -- the case we're here to talk about 14 THE WITNESS: Abourezk.
15 was your first one for Zurich? 15 MR. SUTTON: Abourezk.
16 MR. SUTTON: First worker's comp -- 16 MR. HOYT: -- Abourezk tomorrow so I'll --
17 Q (BY MR. HOYT) First worker's comp bad faith? 17 you're going to be the court reporter for that --
18 A_ I believe so. I believe I had done one bad faith 18 so she can bring these exhibits to the extent I
19 for Zur -- case for Zurich prior to this, but I -- 19 need to use them then. So these are -- this is
20 I'm struggling to remember whether it was Zurich | 20 not what I wanted.
21 or USF&G, but I -- we do Zurich work in our 21 I'm going to mark the guidelines. This is
22 office, but I didn't do any Zurich work. I only 22 Exhibit 1.
23 was called in on the bad faith side. 23 MR. SUTTON: Yep.
24 Q_ So without confining it to a bad faith worker's 24 (Whereupon, Exhibit 1 was then marked.)
25 comp, had you handled bad faith cases for Zurich 25 (BY MR. HOYT) Mr. Palmer, I'll have you look at
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1 prior to the claim that we're talking about? 1 these. You are free to look at as much as you
2 A I'mnot sure. I'm not being evasive. There might 2 want, but maybe I can direct your focus more to
3 be one, but I'm not -- [ remember an individual 3 just the question I intend to ask which is
4 that was | thought with Zurich at the time, but 4 generally if you recall seeing these guidelines
5 now I'm not as sure. They might not have been 5 from Zurich at the beginning of your retention
6 with USF&G, 6 with them on this case?
7 Q_ So let's broaden the scope even more. Had you Zz Do I remember receiving them, no. Do I -- do I
8 handled insurance defense cases for Zurich prior 8 acknowledge I received them, yes.
9 to the claim we're here to talk about? 9 All right. Was this the first time you had seen
10 A No. Me personally, no. Our firm, yes. 10 these guidelines or had you received them for
11 Q Your firm. All right. Let's -- let's talk about 11 the -- the prior one or two cases you handled for
12 the case, and I'll call it the -- the Leichtnam 12 Zurich?
13 case. Is that how you pronounce that name? 13 I don't know the answer to that question.
14 A_ I think it's Leichtnam, but -- 14 And you understood in getting these that -- that
15 Q Leichtnam. Okay. Let's talk about that case. 15 Zurich was providing them to you to show you what
16 A Sure. 16 they expected in terms of the guidelines they
17 Q How did that case come to you? 17 wanted you to follow?
18 A_ I gota call from somebody at Zurich which I 18 I do.
19 presume was Dawn Wagner, but I don't know that for |19 Now, let's look at pages 2 and 3 of the actual
20 a fact. 20 guidelines. And the -- the guidelines are
21 Q_ And did they say why they were calling you? 21 actually -- there is a -- there is a -- kind of an
22 A [--I don't recall, I don't know why they were 22 overview and then there is paginated pages. And
23 calling me. 23 I'm referring to the pages that have one and --
24 MR. HOYT: Let me mark as Exhibit | -- I'm 24 two and three at the bottom. It says, Guidelines
25 going to mark these as plaintiffs’ exhibits. 25 for litigation matters.

 

 

 

 

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1 A_ I'msorry. 1 things. And one of them in item 2, B2, is
2 Q_ Ifyou look at the bottom of the page, you need to 2 identification and assessment of key issues
3 go further to get to the -- where it starts with 3 including likelihood for success on the key
4 the pack page numbers. 4 issues. Do you recall providing -- and let me --
5 A Oh. I thought the Zurich 2 is what you were 5 I believe you mentioned Dawn Wagner. You believe
6 talking. 6 she was your contact on the case?
7 Q There. | think you are in the numbering sequence 7 A I know that she was my contact. I didn't know if
8 there. So if you go to page 2 and 3 of that. 8 she was the initial, but, yes, she was the
9 MR. SUTTON: I think he wants you at 9 contact.
10 Bates stamp 3016. 10 Q Allright. Can you remember any other contact you
11 Q (BY MR. HOYT) Yeah. Yeah. 11 reported to?
12 A Oh. 12 A No,I cannot.
13 Q 3016 Bates stamp. I'm probably confusing you. 13 Q Allright. So do you recall within 90 days of the
14 I'm referring right now to the little page number 14 assignment providing Dawn Wagner with your
15 at the bottom. 15 identification and assessment of key issues and
16 A Qh, okay. Okay. I was going to say, they are all 16 likelihood for success?
17 2, but -- 17 A Ido not recall that.
18 Q Yeah. There are multiple numbers. Sorry about 18 Q Item 3, a litigation plan, do you recall providing
19 that. 19 her with a litigation plan that I -- identified
20 A That's okay. Okay. I've got it. 20 the four items, sub A through D?
21 Q Okay. So appears a list of guidelines for 21 A I donot recall.
22 litigation matters. Do you see that? 22 Q_ Did you ever provide her with a litigation plan
23 A Ido. 23 that identified these items?
24 Q Do you recall receiving -- receiving those 24 A I don't know the answer to that. Whatever I did
25 guidelines and following those in the prior Zurich 25 is in the file.
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1 cases that you had handled? 1 Q Allright. But as you sit here you can't recall a
2 A Just so we're clear, I'm not positive I handled 2 specific litigation plan that identified
3 any prior Zurich cases. I said I maybe did one. 3 discovery, motions, significant activity?
4Q_ Okay. 4 A I donot recall.
5 A I don't know whether it was Zurich or USF&G. But | 5 MR. HOYT: Let's mark as Exhibit 2 the
6 I acknowledge receiving these, but I can't tell 6 Leichtnam Complaint in this matter.
"7 you that I have any for a previous case. 7 THE WITNESS: Oh, sorry.
8@Q Allright. You did review them for this case? 8 MR. HOYT: She'll give you that copy.
9 A I'msure I looked at them, 9 (Whereupon, Exhibit 2 was then marked.)
10 Q Allright. And so you saw the reporting 10 Q (BY MR. HOYT) And can you identify this as the
11 requirements listed under Roman Numeral II? 11 Complaint that you were retained to defend?
12 A I see the reporting requirements. 12 A_ It would certainly appear to be.
13 Q_ Do you recall within 30 days of receiving the case 13 Q_ And did you receive this upon your retention from
14 sending the report that's outlined there? 14 Zurich?
15 A I donot. 15 A_ I'm going to assume so.
16 Q And then if you go to B, initial case report 16 MR. HOYT: Let's mark as Exhibit 3 the
17 budget, there is another report called for 90 days 17 Gunderson Palmer billing records for this.
18 from receipt of the assignment. Do you recall 18 (Whereupon, Exhibit 3 was then marked.)
19 providing that report? 19 Q (BY MR. HOYT) And I'll start with the general
20 A I donot. 20 question, if you can identify these as the billing
21 Q_ Do you believe you did or you just -- you can't 21 records of Gunderson Palmer for this matter?
22 recall it or -- or you didn't? 22 A_ I'm going to assume they are. I haven't looked
23 A I don't know one way or the other. 23 through every one of them, but I -- I know that
24 Q_ So the -- the report that's called for under item 24 they were provided to my counsel who I presume
25 B says no later than 90 days calls for a number of 25 provided them to you.

 

 

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1 medical summaries as well as summaries of the 1 THE COURT REPORTER: 4.
2 claim file. 2 MR. HOYT: That's responses and objections to
3 Q (BY MR. HOYT) Okay. And do you -- is that what 3 plaintiffs' second set of requests for admissions
4 your're recalling? 4 to defendants.
5A Yes. 5 (Whereupon, Exhibit 4 was then marked.)
6 Q_ And you recall those were prepared by Beth Young 6 Q (BY MR. HOYT) Generally can you identify these as
7 about the time frame we're looking at early on? 7 responses to requests for admissions that you
8 A [| -- the time frame I don't know. I know that 8 reviewed and approved?
9 Beth was preparing them. When she's reviewing 9 A Yeah, I would say that's true.
10 these, at the same time she's taking notes to 10 MR. HOYT: Yeah, | don't -- did you get me
11 prepare the summaries. And whether they are 11 verification for these, because I don't have it
12 exactly contemporaneous with those dates, I don't | 12 with this copy?
13 know. 13 MR. SUTTON: Request for admissions wouldn't
14 Q Allright. Now, it looks like from the time 14 require verification. Only interrogatories.
15 records you obtained two extensions of time from 15 They're signed by counsel. .
16 Michael -- 16 MR. HOYT: Well, it's general practice to
17 A Abourezk. 17 also have their client verify them. But, anyway,
18 Q_ -- Abourezk -- 18 he stands by them, so that's fine with me.
19 A That could be. 19 Q (BY MR. HOYT) If we look at 45 -- Request For
20 Q_ -- to answer it? 20 Admission 45 --
21 A Without looking, I wouldn't know. 21 A Yes.
22 Q Well, let's look. 22 Q_ -- it asks, Admit you did not research any
23 A Okay. 23 potentially applicable defenses to assert on
24 Q So there is -- there is an entry on 3/26 on the 24 behalf of AZIC in the bad faith action. And it
25 first page that says review -- receive review 25 appears that you admitted that with an
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1 email from attorney Michael Abourezk approving 1 explanation, but it does appear that you admit, if
2 extension of time to file an answer. 2 you go to the response, that no research was done,
3 A Okay. I see that. 3 correct?
4 Q_ So that -- that's one. And then if you look down 4 A Okay.
5 at 4/15 at the very bottom. Correspondence to 5 Q And so let's look at the Answer.
6 attorneys Mike Simpson, Mike Abourezk, regarding 6 MR. HOYT: And we'll mark that as Exhibit 5.
7 request for further extension of time in order to 7 (Whereupon, Exhibit 5 was then marked.)
8 file answer in order to finish review of 8 A Okay.
9 voluminous documents from clients. 9 Q (BY MR. HOYT) This is the Answer that was -- that
10 A I see. 10 was filed to the Complaint we looked at, correct?
11 Q_ So two extensions it looks like -- 11 A Yes.
12 A Yes. 12 Q Who drafted this?
13 Q_ -- correct? 13 A Idid. With input from others.
14 And so with those extensions you believed you 14 Q Who else had input?
15 had sufficient time to prepare an Answer for this? 15 A Jana Smoot White.
16 A Yes. 16 Q_ And what was her position?
17 Q And that you had sufficient time to identify any 17 A She was a lawyer in our office at that time.
18 issues to raise in that Answer? 18 Q_ What level of experience was she?
19 A Yes, 19 A She joined our firm -- she practiced law in
20 Q But there was no research done during that period 20 Kentucky for nine years and had been with us for
21 of time into possible legal defenses, was there? 21 probably -- I'm not sure -- two or three years at
22 A Not that I see in the billings. 22 that time.
23 Q Well, and if we look at -- let's see -- I'm going 23 Q What was her -- her experience with worker's comp
24 to mark this as Exhibit -- 24 bad faith?
25 MR. HOYT: What are we up to, 4? 25 A_ I don't know what her experience with worker's

 

 

 

 

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1 comp bad faith is. I know that she had extensive 1 drafts of answers for the client's review before
2 experience in bad faith in the state of Kentucky 2 filing?
3 and that's why I had enlisted Jana to assist in 3 A I don't know that I had prior cases with Zurich.
4 what bad faith cases we had. 4 As I said earlier, this was the first case I know
5 Q_ What input did she provide on this Answer? 5 I had for Zurich. It was -- I thought there might
6 A Specifically I don't know. Jana and I would have 6 have been one before that.
7 talked about it. We always talked about how to 7 Q Allright. So the answer was filed -- let me look
8 respond and — 8 at that Answer. It looks like it was filed on
9 Q Okay. Anybody else provide input? 9 April 30 if you look at the Certificate of
10 A Notto my knowledge. 10 Service, correct?
11 Q Allright. So you got two extensions of time and 11 A Yes.
12 had your paralegal review 1,800 plus pages of 12 Q You had been retained over 30 days before that.
13 documents and you filed a two-page Answer without {13 The guidelines we looked at required a report
14 any affirmative defenses. And so nothing that -- 14 within 30 days of retention to identify the
15 nothing that was found in that review, nothing 15 issues.
16 that was determined in that period of time led you 16 What had you done in that 30-day period, if
17 to believe that there were any potential defenses 17 anything, to identify issues and defenses in this
18 for this matter? 18 matter?
19 MR. SUTTON: Object to the form of the 19 A_ [had reviewed the re -- the materials they had
20 question. 20 provided. I had also had a conversation with
21 A Atthat time it did not. 21 Bill Fuller, the lawyer who represented Zurich in
22 Q (BY MR. HOYT) You also filed this Answer without | 22 the underlying work comp matter.
23 providing a draft to the client for review prior 23 Q When did you have that conversation?
24 to filing, correct? 24 A Without looking at billing records I don't know.
25 A I don't have a recollection, but I do after the 25 Q Well, let's look at them.
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1 fact, yes, I think I did. 1 A Okay. I spoke with Bill on 3/27/15.
2 Q Now, that wasn't your usual practice, was it? 2 Q Okay. And you -- what -- what do you recall of
3 A Depended on the client, but probably not my usual | 3 that phone call?
4 practice. 4 A I called Bill to advise him that we had been
5 Q In fact, if we look back at those guidelines, 5 contacted regarding this matter. I asked Billa
6 Exhibit 1, if you would pull that out -- 6 little bit about the general background of the
7 A Oh, sure. I'm sorry. 7 case. He said, Make sure you do not assert advice
8 Q_ -- and go back to those pages again, page 3 in 8 of counsel as a defense. And I think we discussed
9 particular. The Bates number is 3017. 9 the fact that they had carved out the bad faith
10 A 3017? 10 when they had their work comp resolution.
11 Q_ Atthe bottom, yeah. 11 Q_ Did he tell you why you shouldn't assert advice of
12 A Okay. 12 counsel?
13 Q_ The very last entry there says, Draft should be 13 A Because I think he -- this would be my
14 transmitted in time for the corporate law attorney 14 speculation. Bill didn't believe they were
15 to provide substantive comments and proposed 15 following his advice and that they were -- had a
16 meaningful revisions. 16 problem with the underlying case.
17 A It-- it does. 17 Q Yeah, I -- I don't want speculation. I want what
18 Q_ And that -- you did not follow that guideline 18 you can recall Bill actually told you.
19 here? 19 A Okay. [ don't recall.
20 A_ I did not. 20 Q Okay. What did he tell you about the carve-out?
21 Q Now, let's look at the Answer. Is there any 21 A I--I can't tell you specifically. All I know is
22 reason why you didn't? 22 [ left the conversation with the understanding
23 A I don't know. [I don't have a recollection of what 23 that they had reserved, preserved, whatever term
24 took place at the time. 24 you like, the work comp -- the bad faith case.
25 Q_ Inyour prior practice for Zurich had you provided 25 Excuse me.

 

 

 

 

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1 to pay benefits starting in May of 2012, correct? 1 that suggested possible affirmative defenses?
2 A What paragraph are you looking at? 2 A I don't recall reviewing it, so I don't have a
3 Q_ Starting on -- on page 2 -- 3 recollection of anything it might suggest.
4A Yes. 4 Q_ Ifyou look at the Answer, second page,
5 Q_ -- paragraph 14, it says Zurich discontinued 5 paragraph 4, where it says, There exists a
6 payments -- 6 legitimate dispute as to whether claimant's
7 A Oh, 7 present condition is in any way related to the
8 Q. -- for plaintiff's medication. 8 work injury, isn't a legitimate dispute or a
9 A Isee that. 9 reasonable dispute a defense to bad faith?
10 Q And then if you go to paragraph 18, it says in May 10 A It's—
11 of 2012 Zurich agreed to pay for a doctor's visit. 11 MR. SUTTON: Objection; form of the question.
12 And what -- did -- did you do anything to -- to 12 It's vague.
13 try and ascertain what happened in the interim? 13 Q (BY MR. HOYT) You can answer.
14 The three years between the discontinuance and the 14 A_ It could be a legitimate issue with regard to bad
15 doctor's visit with Dr. Lawlor that's alleged 15 faith, but this is a work comp claim that's -—-
16 there? 16 hasn't even been litigated yet.
17 A I don't have a recollection of that, no. 17 Q True. But you were preparing an answer to the bad
18 MR. HOYT: Let's mark this as Exhibit 6. 18 faith case, and so if there is a legitimate
19 It's the underlying petition. 19 dispute in the underlying case about whether he
20 (Whereupon, Exhibit 6 was then marked.) 20 was entitled to benefits or not, wouldn't that be
21 Q (BY MR. HOYT) This is the underlying worker's comp |21 a valid affirmative defense to raise?
22 Petition for Hearing. Did you review this before 22 A The case as it existed at the time that Bill would
23 you filed the Answer? 23 have answered this versus the case that was
24 A I don't know. 24 presented to me were two different cases.
25 Q_ It's most likely it was in the file provided to 25 Q_ J understand that. But I'm saying, as you an
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1 you, correct? 1 attorney preparing an answer to the bad faith
2 A_ I don't know that. I'm going to -- if -- if you 2 allegations arising out of this underlying
3 say most likely, I'll agree with most likely. 3 worker's comp case, if there is a legitimate
4 Q Allright. Is that something that you believe you 4 dispute as to whether the individual was entitled
5 would have wanted to review before filing an 5 to benefits or not, isn't that a le -- isn't that
6 answer in a bad faith case arising out of this? 6 a defense -- a possible defense --
7 A Not necessarily. 7 MR. SUTTON: Object --
8 MR. HOYT: Let's mark this Exhibit 7, the 8 Q (BY MR. HOYT) -- to the bad faith claim?
9 Answer to the Petition for Hearing. 9 MR. SUTTON: Objection; we're now -- it's
10 (Whereupon, Exhibit 7 was then marked.) 10 compound. If. It's speculative.
11 Q (BY MR. HOYT) This was -- this appears to youto be {11 A_ I would say that the -- the term legitimate
12 the Answer filed to that Petition we just looked 12 dispute could give rise to a bad faith defense.
13 at, correct? 13 In this instance, what I had looked at, I did not
14 A_ It would appear to be. 14 think it did.
15 Q_ And do you believe you would have reviewed that 15 Q (BY MR. HOYT) So within 30 days of retention you
16 before filing the answer in the bad faith case? 16 had already come to the conclusion there was no
17 A I don't know. 17 legitimate dispute as to whether Leichtnam had
18 Q Is it most likely you did? 18 been entitled to benefits?
19 A I don't know. 19 A I don't know what you mean by within 30 days.
20 Q Is it likely that it was provided to you with the 20 Q Well, the Answer was filed approximately 30,
21 file materials to prepare to answer the bad faith 21 35 days after your retention.
22 case? 22 A Well, I was -- if that's what the timing is, yes.
23 A I don't know for a fact, but I'll go with most 23 Q_ Did you tell the client that at any point in time?
24 likely, sure. 24 A Well, at some point in time I did.
25 Q And do you -- do you recall seeing anything in it 25 Q When?

 

 

 

 

 

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1 A_ I don't know. I wrote them an -- a long letter 1 insurer including any claim for permanent partial
2 explaining at a certain point in time where I 2 or permanent total disability, temporary total
3 think the problems were with regard to this case, 3 disability, temporary partial disability,
4 and the fact that they had committed bad faith. 4 rehabilitation or retraining benefits, Cozine
5 Q And you told them that you didn't see any 5 benefits, benefits under the odd lot doctrine,
6 potential defenses? 6 past, present medical expenses, attorneys’ fees,
7 A I-- whatever I said in the letter is what I said. 7 prejudgment interest, penalties, and costs. This
8 Q. Allright. We'll look at those. 8 agreement shall constitute a full and final
9 MR. HOYT: Let's mark as Exhibit 8 -- is this 9 release of any present and future claims the
10 8? Yeah. A summary of medical exams, and this 10 claimant may have against employer and insurer
11 may be part of what we were talking about earlier. 11 except those matters excepted herein.
12 (Whereupon, Exhibit 8 was then marked.) 12 And the matters that were excepted -- it
13 A Oh, I'msorry. 13 appears that the matters were ex -- that were
14 Q (BY MR. HOYT) Does this appear to you to be one of | 14 excepted were listed in item C and D above,
15 the summaries you were talking about that Beth 15 paragraph 7, if you look.
16 Young prepared? 16 A Okay.
17 A Itis. 17 Q Was that how you read this?
18 Q Okay. And do you recall the time frame that she 18 A That's what it says.
19 prepared this in? 19 Q_ Now, is there some reason why you didn't allege
20 A I donot. 20 this release as an affirmative defense?
21 Q_ Do you recall if you saw it before you filed the 21 A Because in my conversations with both full --
22 Answer? 22 Bill Fuller, he explained to me that he and
23 A Ido not recall. 23 Dennis Finch had agreed to except out the bad
24 Q Do you recall that there was some disagreement 24 faith claim, which is very common practice.
25 amongst the doctors as to the percentage of the -- 25 Q_ Did he give you any documentation of that
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1 the disability or injury attributable to the -- 1 discussion?
2 the accident? 2 A Subsequently I recall receiving some email
3 MR. SUTTON: Object to the form; it's vague 3 exchanges between Dennis and Bill.
4 as to time. 4 Q_ But before you filed the Answer you didn't have
5 Q (BY MR. HOYT) You can answer. 5 that email?
6 A Sure. I don't have a recollection of what the -- 6 A I don't know. Bill Fuller told me it had been
7 they were saying at the time, I know I've seen 7 done, and if Bill Fuller tells me something, it
8 the document, but I don't know what my thought 8 happened.
9 would have been at that time or don't recall what 9 Q Now, if you look at the Complaint again, it's
10 my thought was at the time. 10 Exhibit 5 -- or Exhibit 4. Wait. It's Exhibit --
11 MR. HOYT: Let's mark as Exhibit 9 the 11 A_ I believe it's 2.
12 Compromise, Settlement, and Order for Approval. 12 Q 2, yeah. And you look at what is prayed for -- or
13 (Whereupon, Exhibit 9 was then marked.) 13 is termed -- or what is claimed, his injuries,
14 Q (BY MR. HOYT) The first question is, do you recall 14 that's in paragraph 27, I believe. Paragraph 27,
15 receiving and reviewing this prior to filing the 15 the harm alleged is delay in payment of his
16 Answer in the bad faith case? 16 medical expenses, delay and obstr -- and
17 A DoTrecallit, no. Do I think I did, yes. 17 obstruction of his medical care, loss and use of
18 Q Okay. And if you go to page 3 -- 18 benefits. All of those occurred before the
19 A Yes, sir. 19 release, correct?
20 Q_ -- paragraph 7 contains a rather general release. 20 A_ I don't know, but it would seem to make sense,
21 And if you go over to the next page, subject to 21 yes.
22 matters that are excepted. So it says, Fully and 22 Q And so regardless of whether the bad faith claim
23 forever releases, discharges employer and insurer 23 was released, why didn't it occur to you that
24 of and from any and all claims he may now have or 24 there are some allegation -- alleged injuries or
25 hereafter may have against the employer and 25 whatever here that would be released or at least

 

 

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1 A Let me just catch up with you. 1 filed this answer that -- that Leichtnam had to
2 Q. Sure. Go ahead and read that. 2 exhaust his administrative remedy with the
3 A Well, that would be true. It was done by way of 3 South Dakota Department of Labor?
4 settlement. 4 A I think that he had exhausted his remedies by the
5 Q_ So your -- your position was that because it was 5 settlement.
6 settled and a settlement was approved, there was 6 Q Okay. And you were aware of no authority at that
7 no need for a determination of wrongful 7 time requiring an actual determination by the
8 withholding? 8 board?
9 A Right. 9 A Am--was I aware of any then nor am I aware of
10 Q_ In looking at that settlement, did you see any 10 any now. I don't know one way or the other.
11 admission in that settlement by Zurich that it had 11 Q Allright. You were not aware of it at the time
12 wrongfully withheld benefits? 12 of filing the answer?
13 A_ I don't remember what's in the settlement, but I 13 A Well, it was my opinion that it had been resolved.
14 don't recall any such thing. 14 Q_ What had been resolved?
15 Q_ In fact, if we look at it -- if you will look at 15 A. The underlying work comp claim, and approved by
16 page 2, paragraph 5, it simply sates -- states 16 the department.
17 that disputes exist? 17 Q_ But what -- it was your opinion at the time that
18 A_ It does. 18 there was no need for him to get an actual
19 Q And you're free to look at this, but I don't 19 determination by the board of wrongful
20 believe it says anywhere in this that Zurich 20 withholding?
a1 admits that it had wrongfully withheld those 21 A That would be my opinion.
22 benefits. In other words, that there was no 22 Q. Were you aware of the South Dakota cases on that
23 longer a dispute. 23 point at the time of -- existing at the time you
24 MR. SUTTON: Object to the form; that's 24 filed your answer?
25 compound. 25 MR. SUTTON: Objection; that's vague.
Page 46 Page 48
1 Q (BY MR. HOYT) It never says in here that -- does 1 A Not that I'm aware of.
2 it, that Zurich withdraws its dispute or admits 2 Q (BY MR. HOYT) Did you ask anybody who had handled
3 that it was wrongful? 3 worker's comp at your office about it?
4 A_ I would be -- I -- I don't know. I haven't read 4 A This is going to sound like I'm dancing around it,
5 the entire thing, but I would presume that they 5 but I don't know. This was several years ago so I
6 did not, 6 don't know the answer to that.
7 Q_ Okay. Prior to this case had you ever done 7 Q Okay, Had you heard of the case of Hein vs.
8 research of -- of what steps a claimant -- a 8 Acuity?
9 worker's comp bad faith claimant must take before 9 A No.
10 bringing the bad faith claim? 10 Q Had you heard of the case of Zuke vs. Presentation
11 A [have -- I don't think I did any specific 11 Sisters?
12 research in that regard. But we have several 12 A Not that I'm aware -- I don't rec -- recall -- or
13 people that only do work comp -—- worker's 13 I don't recognize those names. Pardon me.
14 compensation. And we routinely and regularly 14 Q Okay. Did you have available an associate at the
15 visit about the -- the complexities of making sure 15 time you could have asked to research that -- that
16 in handling of work comp cases that you're 16 issue? .
17 touching all the bases. 17 A I'msure I did.
18 Q. Were you familiar with the requirement of 18 Q_ But you didn't?
19 exhausting the administrative remedy -- 19 A I did not. Unless it shows in the billing
20 A Lam-- 20 records. I don't know.
21 Q_ -- prior to bringing it? 21 MR. HOYT: Let's mark as Exhibit 10 Zurich's
22 A I'msorry. 22 Motion For Leave To File Amended Answer.
23 Q That's okay. 23 (Whereupon, Exhibit 10 was then marked.)
24 A 1am familiar with the term. 24 MR. HOYT: Then I will also mark at the same
25 Q And it was your understanding at the time you 25 time Exhibit 11, Zurich's Brief in Support.

 

 

 

 

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WITNESS: J. CRISMAN PALMER

 

 

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1 (Whereupon, Exhibit | 1 was then marked.) 1 email you received February 1, 2018, referring to
2 MR. HOYT: And then I'm going to mark as 2 attached motions for the pro hac?
3 Exhibit 12 the Combined Reply Brief. 3 A It would appear so.
4 (Whereupon, Exhibit 12 was then marked.) 4 Q. And after -- after you pro hac'd them in, did you
5 Q (BY MR. HOYT) All right. I'm going to have you 5 re -- remain on the file?
6 look briefly at these. So at some point the 6 A We--they -- well, yes. As local counsel.
7 Hinshaw Culbertson firm comes into this matter, 7 Q Okay, Let's go back to the billing records again.
8 and we'll get in more detail into that, but they 8 A Sure.
9 work up Proposed Amendment to the Answer and a 9 Q_ Those are Exhibit 1,1 believe.
10 Motion to Dismiss. And we're going to -- we're 10 MR. SUTTON: 2.
11 looking at some of the documents, I believe, that 11 Q (BY MR. HOYT) 3. And if you look -- going to
12 came about in that process. 12 2018 -- first of all, let me -- let me ask you.
13 But let me just ask you, do you recall 13 After the first page we drop off at April 22 and
14 signing the -- the documents that are in front of 14 we don't pick up again until June 3. Are we
15 you that were the Motion to Amend and the briefing 15 missing May billing records or just nothing went
16 that supported it? 16 on in May?
17 A I--I don't recall it, but I -- I know they 17 A I don't know the answer to that. I'm presuming
18 happened. 18 nothing went on or there would be a billing
19 Q Yeah. And, well, in fact you can see your 19 record. But I don't know.
20 signature on these documents, I believe. 20 MR. HOYT: Counsel, do you know?
21 A The electronic signature, yes. 21 MR. SUTTON: I -- I can tell you that the
22 Q Right. 22 Bates stamp is sequential, so this is how |
23 A Yes, sir. Iam not disputing that in any way, 23 received them. I'm assuming this is everything.
24 form -- 24 MR. HOYT: All right.
25 Q Okay. And even though Hinshaw Culbertson came in |25 Q (BY MR. HOYT) So let's go to 2018.
Page 50 Page 52
1 you were still counsel of record on the matter at 1A_ Yes, sir.
2 the point in time that these were signed, correct? 2 Q And look at -- there is a Bates page 46, GPNA --
3 A I wouldn't consider myself counsel of record. 3 A Yes, sir --
4 That -- I -- they had taken over the case and they 4Q_ --46.
5 were calling the shots. 5 A I've got it.
6 Q As far as the Court was concerned, your name was 6 Q  Upat the top there is an entry of January 9,
7 still on this matter? 7 2018. It says, Telephone conference with
8 A LT agree with you. 8 Dawn Wagner regarding counsel replacement issues.
9Q Yeah. 9 Do you recall that discussion?
10 A That's why I subsequently asked them to get their |10 A I donot.
11 pro hac vice motions in so that I wouldn't be. 11 Q_ Do you recall her telling you that they were
12 Q_ Nov, in -- in sponsoring them pro hac, what were 12 bringing Hinshaw & Culbertson in?
13 the requirements under South Dakota law for your 13 A Oh, Ido remember that. Certainly.
14 continuation on the matter? 14 Q_ Did she tell you why?
15 A_ I have to appear at proceedings and I havetosign |15 A_ Ifshe did, I don't recall.
16 . the pleadings until they are pro hac'd in. Absent 16 Q Okay. And then if you go down to January 17, Work
17 of a friendship, if you will, professional one, I 17 on lengthy response to email from Mr. Glazer
18 wouldn't have been local counsel. 18 regarding status of the case and draft a letter to
19 Q And it looks like -- if we go to -- 19 Glazer. What do you recall about that letter?
20 MR. HOYT: Well, mark this as Exhibit 13. 20 A I don't recall anything. I didn't draft the
21 It's a email of February 1, 2018, referring to 21 letter.
22 pro hac. 22 Q Whois KAC?
23 (Whereupon, Exhibit 13 was then marked.) 23 A Katelyn Cook.
24 A Thank you. 24 Q. And Beth Young also worked on the letter -- or
25 Q (BY MR. HOYT) And this -- this appears to be an 25 looks like she worked on the letter?

 

 

 

 

 

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J. CRISMAN PALMER, ET AL

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1 Q Were you aware of anything -- any case, Zuke or 1 Q Okay. So Finch asked Fuller to remove language
2 otherwise, that held that it was enough of an 2 that specifically releases the bad faith claim
3 exhaustive administrative remedy if the claim had 3 and -- and Fuller/Zurich complies. Is that your
4 reached the final stages of the administrative 4 understanding?
5 process? 5 A That's what -- that's what Dennis is asking here.
6 A I wasn't aware of anything. 6 Q And -- and Zurich did remove it?
7 Q_ Do you know whether Zuke even holds that? 7 A I--I presume that they did.
8 A As we sit here today, I do not. 8 Q_ Well, we looked at the release.
9 MR. HOYT: Let's mark that Exhibit 15, Order 9 A Well, I don't remember what the release said. I'm
10 Denying Zurich's Motion. 10 sorry, sir.
11 (Whereupon, Exhibit 15 was then marked.) 11 Q Okay. Now, your understanding -- is it your
12 Q (BY MR. HOYT) Do you recall seeing this Order? 12 understanding that it's bad faith to ask for a
13 A I know that [ saw it, yes. 13 release that would include bad faith?
14 Q This was the Order denying Zurich's motion to 14 A Yes.
15 dismiss and motion to amend to add the affirmative 15 Q Oris it bad faith to condition payment of
16 defenses, correct? 16 benefits on a release of bad faith?
17 A. This is a motion -- it's an Order Denying Zurich's |17 A_ I view both as being bad faith.
18 Motion For Leave To File An Amended Answer, yes, |18 Q So simply to ask for it is bad faith in your view?
19 sir. 19 A That's -- when I'm trying to settle cases, I don't
20 Q > Okay. 20 use those terms. I -- I use terms so that if
21 MR. SUTTON: It's a separate order on the -- 21 we're going to settle the case, I say we're going
22 MR. HOYT: Right. 22 to settle on a global basis, meaning it's a
23 Q (BY MR. HOYT) You understand that the Motion to 23 complete resolution of all claims, and that global
24 Dismiss also was denied? 24 basis is understood.
25 A Ido. 25 Q_ But it's your understanding Zurich did not insist
Page 62 Page 64
1 Q_ And this -- this -- the Court denied the motion 1 upon or condition the settlement with Leichtnam on
2 without reaching the merits of any of the defenses 2 a release of bad faith?
3 that were attempting to be added, correct? 3 A I don't know what they did.
4 MR. SUTTON: In Exhibit 15? 4 Q. Well, we can look at the release again.
5 MR. HOYT: Yes. 5 A Well, | understand they signed the release. I
6 A I don't know without reading the entire Order. 6 don't -- I don't know what discussions might have
7 Q (BY MR. HOYT) Well, it's your understanding, isn't 7 had regarding conditioning the release. I'm not
8 it, that the Court held that the motion was simply 8 trying to be cute.
9 untimely? 9 Q But it's your understanding that the release that
10 A_ I knew the Court said the motion was untimely, 10 was ultimately signed that we looked at did not
11 correct. 11 release bad faith?
12 Q_ And that no adequate explanation had been given 12 A Yes.
13 for a three-year delay and amending? 13 Q. And so Zurich did not condition that settlement
14 A_ I know that the Court denied it as not timely. 14 upon a release of bad faith?
15 Q Well, the fact is that -- that you had missed the 15 A_ It's been removed from the release. I don't know
16 deadline to amend by some three years. 16 about conditioning.
17 A If that's what the deadline said. 17 Q_ And they didn't -- they did not insist upon that
18 (Whereupon, Exhibit 16 was then marked.) 18 release in order to settle?
19 Q (BY MR. HOYT) Let's look at Exhibit 16, It's an 19 A They removed it from the release language.
20 email of June 6, 2013. Is this the email I 20 Q_ And so what -- what would the harm be in terms of
21 believe you said you ultimately saw that reflected 21 bad faith harm in Zurich asking for it but
22 the exchange between attorney Finch and 22 removing it?
23 attorney Fuller on the bad faith release? 23 MR. SUTTON: Object to the form of the
24 A I don't know if this is it or not. [t certainly 24 question.
25 is an email that addresses that issue. 25 A If they removed it, 1 mean, probably not a harm.

 

 

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1 (Whereupon, Exhibit 19 was then marked.) 1 Q_ And so the last email we looked at where she's
2 Q (BY MR. HOYT) So this was a letter that you 2 asking for details was September 28. This one is
3 received wherein Mr. Abourezk offered to settle 3 in December, December 15, and it appears you still
4 for $325,000? 4 have not provided the -- the items she asked for;
5 A. That's correct. 5 is that correct?
6 Q And this was roughly -- let's see -- one, two -- 6 MR. SUTTON: I'm going to object to the form;
7 four months or so after the -- the case had been 7 it's a compound question.
8 filed? 8 Q (BY MR. HOYT) This is December 15. So we're
9 A Sounds reasonable. 9 roughly 3 months later from the email we just
10 Q_ And your -- you suggested to Dawn Wagner that she | 10 looked at, correct?
11 consider this; is that correct? 11 A Yes, it -- it is.
12 A_ I considered — I suggested she consider it and 12 Q And she's still asking for your initial evaluation
13 that I -- and I -- yes, I suggested she consider 13 in order to explore early resolution?
14 it at that. 14 A That's what it says.
15 You didn't propose any specific counter, though; 15 Q_ Any reason why you hadn't provided it before this?
16 is that correct? 16 A_ I don't have a reason.
17 A_ I suggested a counter-proposal to my client as to 17 MR. SUTTON: Other than in the letters?
18 what I thought the case could settle for. 18 MR. HOYT: That's not an objection, Counsel.
19 Q What was that? 19 That's testimony.
20 A 300,000. 20 MR. SUTTON: Misstates the record. That's
21 MR. HOYT: Let's mark as -- yeah, let me see a1 the objection.
22 if I want to go there. 22 MR. HOYT: Well, that -- that just doesn't
23 Exhibit 20 is the September 28, 2015 -- 23 even make any sense.
24 (Whereupon, Exhibit 20 was then marked.) 24 Anyway, let's look at Exhibit 22,
25 A Thank you. 25 December 23, 2015.
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1 Q (BY MR. HOYT) So this is a response from 1 (Whereupon, Exhibit 22 was then marked.)
2 Dawn Wagner where she thanks you for passing on 2 Q (BY MR. HOYT) So this appears to be your response
3 the demand but she tells you that she's going to 3 to Dawn Wagner's request for the -- the items that
4 need certain things from you before she can 4 we had looked at; is that correct?
5 discuss with management and seek possible 5 A I will-- in general, probably, yes.
6 authority to address that -- that offer, correct? 6 Q_ And the second paragraph you say, I do think this
7 MR. SUTTON: Object to the form of the 7 is a case we should attempt to settle. Dawn
8 question. 8 Wagner had already told you she's -- she was
9 A Ingeneral, that's what she's saying. 9 interested in that, correct?
10 Q (BY MR. HOYT) And she's asking for, among other 10 A I'm -- sure,
11 things -- it says here your initial review of the 11 Q She -- she told you in the emails we looked at she
12 file, timeline summary, standard the plaintiff has 12 was interested in an early -- possible early
13 to prove, your recommendation on chance of 13 resolution, correct?
14 success. And so you understood she was asking for 14 A I[ don't know that I remember early resolution. |
15 those things in order for her to even be able to 15 know that she wanted further information to follow
16 consider that demand -- that offer? 16 up on Mike's demand.
17 A That's what it says. 17 Q_ If you'll look at the second page, one, two,
18 MR. HOYT: And let's mark as Exhibit 21 a 18 three, four -- four paragraphs down, you tell her,
19 email exchange of December 15, 2015. 19 ] advise insurers in bad faith cases that the
20 (Whereupon, Exhibit 21 was then marked.) 20 value of the case is basically what you are
21 Q (BY MR. HOYT) Actually, I want you to look at the 21 willing to pay to get rid of a claim. Did you
22 second page of that -- 22 consider that responsive to her request for an
23 A Okay. 23 evaluation of what the case value was?
24 Q_ -- the email of December 15 from Dawn to you. 24 A I considered it something that was my opinion on
25 A Okay. 25 having dealt with bad faith cases in South Dakota,

 

 

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1 especially with Mike Abourezk. 1 Q And then on the next page at the top she says,
2 Q_ Did you consider that would be helpful to 2 What are the strengths of our case. You were
3 Dawn Wagner discussing with management what they | 3 never able to identify any; is that correct?
4 should pay on this case? 4 A Not that I recall.
5 A_ I thought it was. 5 Q Your expert did, though, correct?
6 Q_ Pay whatever you're willing? 6 A Sure.
7 A_ It's consideration in bad faith cases. 7 Q_ Item 4 is plaintiff's wrongful termination case.
8 Q I don't see in here any evaluation of particular 8 What -- did you learn anything about that?
9 strengths of the case. Were there -- did you -- 9 A No.
10 did you ever analyze for Dawn Wagner in her -- 10 Q What would the relevance of that be?
11 response to her request any strengths to the case? 11 A I don't know.
12 A Not that I recall. 12 Q Could that go to his credibility?
13 Q Andis that because you had already concluded that 13 A_ I don't know.
14 Zurich had in fact committed bad faith? 14 Q Or litigiousness?
15 A Well, I had concluded that I felt that there was a 15 A_ I don't know.
16 bad -- would be a finding of bad faith, and I was 16 Q_ What exhibit was that one again?
17 trying to find a way to help them get out as quick 17 A 23.
18 as they could before they got into a discovery 18 Q 23. I can't keep these straight.
19 morass. 19 A I'm assisting Tina here today.
20 MR. HOYT: Let's mark as Exhibit 23 email of 20 Q Yeah.
21 January 6, 2016. 21 MR. HOYT: Let's mark as Exhibit 24
22 (Whereupon, Exhibit 23 was then marked.) 22 February |, 2016.
23 Q (BY MR. HOYT) So this was a -- a response from 23 (Whereupon, Exhibit 24 was then marked.)
24 Dawn Wagner to your December 23 in which she 24 A Thank you.
25 thanks you for the high-level analysis but she 25 Q (BY MR. HOYT) This was your -- your response to the
Page 74 Page 76
1 needs the details she asked for, a more in-depth 1 request we just looked at for a more detailed
2 analysis, correct? 2 analysis to Dawn Wagner; is that correct?
3 A It would appear that that's correct. 3 A Yes, it would appear to be.
4 Q And item one she says an overview of the 4 Q Soif you go to the second page of this, you note
5 plaintiff's medical timeline which includes prior 5 in the middle paragraph there was inconsistency in
6 injuries, What did you know about that at the 6 the IMEs. Do you see that?
7 time, any prior injuries by this plaintiff? 7A Ido.
8 A I don't know if I knew of any. 8 Q. That was not just between Farnham and the other
9 Q What would the relevance of that be? 9 two doctors, correct? There was inconsistency
10 A_ [-- I'm not sure I know. 10 even between Anderson and Blow?
11 Q Wouldn't that go to causation in terms of what was 11 MR. SUTTON: Object to the form of the
12 actually attributable to the accident in question 12 question.
13 versus preexisting? 13 Q (BY MR. HOYT) One of them had a 10 percent and the
14 A Well, it could. 14 other had a 5 percent in terms of the amount
15 Q_ Did you take any discovery on that? 15 attributable to the accident -- disability,
16 A No. 16 correct?
17 Q Item two, it says, Liability analysis, in addition 17 A I don't remember the percentages, but they had a
18 to any gaps or delays in treatment in -- any other 18 different percentage, that's true.
19 actions or inactions by Zurich that would be 19 Q You also make the observation, | don't know how
20 problematic. Were there -- were you aware of any 20 the claims representative will hold up ina
21 gaps or delays in treatment that were attributable 21 deposition regarding the decision to cease
22 to -- to Leichtnam simply not seeking treatment? 22 benefits so abruptly. Who was that claim
23 A I don't know. 23 representative?
24 Q_ Did you try taking any discovery on that? 24 A I'msorry. Can you tell me where you're reading
25 A No. 25 from?

 

 

 

 

 

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1Q = Yeah. It's right above the subheading, Why was 1A Yes.
2 the offer of settlement in the amount of 1,500. 2 Q. -- of the analysis of the demand --
3 Go up above that, that last -- that paragraph 3 A Yes.
4 above that. You say, However, | don't know how 4 Q_ -- second paragraph under Analysis of Demand,
5 the claims representative will hold up ina 5 here -- down at the bottom of that paragraph,
6 deposition. We're on page 2. 6 Obviously Bill thought there were issues with
7 A Right. 7 potential bad faith developing and candidly, in
8 Q It's right -- right in there (indicating). 8 the review of the case, there is clearly going to
9 A Oh. Thank you. I -- yeah, no, as I sit here 9 be a finding of bad faith. So Fuller thought
10 today I don't know that I can tell you exactly 10 potentially there was bad faith, but you were
11 what I was thinking at the time. But there must 11 convinced of it?
12 have been something that gave me some pause that {12 A That's what I said.
13 was in the file as to how the claims 13 Pardon me.
14 representative was going to present all of that. 14 MR, HOYT: Let's mark this as Exhibit 25,
15 Q_ Did you ever try and interview -- interview them? 15 April 8, 2016.
16 A Not to my knowledge. 16 (Whereupon, Exhibit 25 was then marked.)
17 Q On page 3 -- 17 Q (BY MR. HOYT) This is a letter you sent to
18 A Yes. 18 Dawn Wagner on April 8, 2016?
19 Q_ -- it says -- at the top there is a question, Did 19 A Itis.
20 Bill Fuller believe Mr. Leichtnam would be 20 Q So you say in this, | spent -- I've spent a lot of
21 perceived as a sympathetic witness. You respond, 21 time thinking about this file and how to approach
22 I have not connected with Mr. Fuller to discuss 22 it. It appears that all of your focus, though, to
23 his perceptions of Mr. Leichtnam during his 23 this point had been on trying to settle it; is
24 deposition. Did you ever ask Bill Fuller about 24 that correct?
25 Leichtnam's credibility as a witness? 25 A Most certainly was a major focus.
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1 A_ I don't know. Bill and I had a num -- several 1 Q_ [have -- | -- did you spend any time thinking
2 conversations, so I candidly don't know. Other 2 about discovery to take?
3 than what I recited here regarding Mr. Leichtnam, 3 A Oh, I'm sure I thought about it.
4 Q Where did you get that characterization of 4 Q But you didn't do any?
5 Leicht -- Leichtnam's deposition? Was that in 5 A I did not.
6 claim notes? 6 Q And what was your thinking about a defense
7 A’ No. Bill Fuller told me. 7 strategy?
8 Q Because it says, However, following 8 A Well, we were ready -- in my opinion we were going
9 Mr. Leichtnam's deposition Mr. Fuller reported to 9 to have to rely on Charlie Henderson to carry the
10 the claims representative that Mr, Leichtnam was 10 day with his opinions regarding the bad faith.
11 articulate and fairly witty? 11 Q_ Did it occur to you that it would appear to Mike
12 A_ Right. 12 Abourezk that Zurich was desperate to settle with
13 Q_ That wouldn't be a direct statement to you, that 13 all of the communications being solely focused on
14 was to the claim rep, correct? 14 settling?
15 A Well, true, but Bill reported that same thing to 15 A No.
16 me, 16 MR. HOYT: Let's mark as Exhibit 26,
17 Q Inaphone call? 17 April 27, 2016.
18 A Yeah, 18 (Whereupon, Exhibit 26 was then marked.)
19 Q Down at the bottom with regard to the plaintiff's 19 Q (BY MR. HOYT) This is a letter from you to
20 wrongful termination case you say | am unaware of 20 Mr. Abourezk, and you said, My client would like
21 the wrongful termination case or who is handling 21 to get together and try to settle this claim. Did
22 same. I'll do some digging. Did you ever dig -- 22 you have any follow-up phone conversations with
23 do the digging? 23 him after this about -- about getting together to
24 A Not that I'm aware of. 24 talk settlement?
25 Q Soif we look at page 4 -- 25 A With Mike?

 

 

 

 

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1Q > Right. 1 Q_ Second paragraph at the very end.
2 A I'm - I don't know. 2A Yes.
3 Q Didhe tell you that the prior offer of 325,000 3 Q_ Itsays, Zurich denies any wrongdoing and disputes
4 was off the table at this point? 4 the nature and extent of Leichtnam's alleged
5 A Atsome point Mike told me he was going to 5 damages. What -- what did you develop in
6 increase his demand. 6 discovery or the evidence to challenge the extent
7 Q. Well, he said it in a letter -- in the initial 7 of his injuries or damages?
8 offer letter, right? He said if it goes too 8 A Where were you looking?
9 far -- 9 Q_ Under the introduction.
10 A Yeah. 10 A Oh, under introduction. I'm sorry.
11 Q_ -- he's going to raise it. Did he tell you -- 11 Q_ Second paragraph. Zurich denies any wrongdoing
12 tell it to you again at some point? 12 and dispute the nature and extent of Leichtnam's
13 A_ I don't know. 13 alleged damages. The fact is you didn't take any
14 Q_ Did you give Dawn Wagner a timeline of when you 14 discovery to challenge his alleged damages,
15 felt she needed to accept that offer if she was 15 correct?
16 going to accept it or risk that it was going to 16 A To that point, yeah, that's right.
17 escalate? 17 Q_ And you didn't do any discovery after this point?
18 A I didn't give her a timeline. 18 A Not while I was in control of the case, true.
19 MR. HOYT: Let's mark this as Exhibit 27, 19 Q On page 3 you note there that, this paragraph, the
20 June 10, 2016, 20 inconsistency between Mr. Anderson's impairment
21 (Whereupon, Exhibit 27 was then marked.) 21 percentage and Dr. Blow's. Do you see that?
22 Q (BY MR. HOYT) It's another letter from you to 22 A Are you talking about at the top of the page?
23 Mr. Abourezk June 10, 2016? 23 Q Yes.
24 A Itis. 24 A Okay. Yes.
25 Q Down near the bottom you say, I know my client 25 Q If you look at page 5 --
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1 would like to settle the case. So none of this 1 A Pardon me. Yes, sir.
2 occurred to you as appearing to be desperation on 2 Q_ -- the first full paragraph there says, Zurich
3 the part of Zurich that you're eager to settle? 3 believed Leichtnam was at MMI -- can you tell the
4 A Notin the slightest. 4 jury what that means?
5 Q Wouldn't it have been better strategy to have some 5 A Maximum medical improvement.
6 discovery hanging over his head when you suggest 6 Q_ -- in the spring of 2009 per his previous IME --
7 that you want to get together and talk settlement? 7 and IME refers to?
8 A No, 8 A_ Independent medical evaluation.
9 MR. HOYT: Let's mark as Exhibit 28, 9 Q --reports. He had not sought any physician
10 Mediation Position Statement, 10 appointments for six months. It was only after
11 (Whereupon, Exhibit 28 was then marked.) 11 his employment was terminated that Leichtnam began
12 Q (BY MR. HOYT) This was a mediation statement that |12 seeking additional treatment. Due to this
13 you submitted for the mediation in this matter? 13 inconsistency Zurich arranged for another IME.
14 A It was, 14 That was -- that was -- that inconsistency, that's
15 Q_ Did you draft this? 15 something that could have been developed in a
16 A In--in large measure. 16 deposition of Leichtnam, correct?
17 Q Who assisted you? 17 A Could have.
18 A_ It would have been Jana Smoot White, and Beth 18 Q_ And it could have affected his credibility?
19 Young would have also participated. 19 A Inthe concept of anything, sure.
20 Q Okay. Is there some reason why you didn't engage 20 Q_ Did you come up with any explanation for why he
21 or recommend engaging Mr. Henderson earlier in 21 hadn't sought any doctors’ appointments until
22 this case? For example, prior to the mediation. 22 after he was terminated from employment?
23 A I don't know. 23 A I don't have any recollection of that.
24 Q_ If you'll look at the second page of this. 24 Q But that inconsistency you believe was a regional
25 A Sure, 25 base -- reasonable basis for Zurich to arrange for

 

 

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AMERICAN ZURICH INSURANCE COMPANY, ET AL v.

WITNESS: J. CRISMAN PALMER

 

 

 

 

J. CRISMAN PALMER, ET AL August 31, 2022
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1 Q We're in that same exhibit. 1 discovery -- or submit any discovery requests?
2 A Oh. I'm sorry. 2 A Justa second. I have to read that again, please,
3 Q Page 11. 3 No, I did not.
4 A Okay. 4 MR. HOYT: Let's mark this as Exhibit 31.
5 Q. This -- and this is asking about any prior 5 It's a February 27, 2017, email.
6 malpractice cases. And there is a reference to 6 (Whereupon, Exhibit 31 was then marked.)
7 some documents, And, frankly, I can't remember 7 Q (BY MR. HOYT) This is an email you received from
8 what those documents are. What -- what was the 8 Dawn Wagner on February 27, 2017?
9 reference there? What prior malpractice claims? 9 A Yep. I'msorry. Yes.
10 A I donot know. 10 Q_ And down at the bottom her email says, Have we
11 Q_ Have you had prior malpractice claims against you? 11 taken the plaintiff's deposition yet? What is the
12 A No. 12 deadline for oral discovery completion? Your
13 Q_ [ think we may have covered this, but did you 13 response is, Thanks. We have not taken depo,
14 interview any of the claim individuals identified 14 Discovery deadline is 7/19. So you knew that Dawn
15 in that Interrogatory No. 1? 15 felt it important to take the plaintiff's
16 A I did not. Let me just say this. Not that I 16 deposition. Why didn't you just tell her that you
17 remember. I don't think I did, but I don't -- 17 didn't intend to?
18 So you don't recall actually trying to get the 18 MR. SUTTON: Object to the form of that
19 version of the events from the claim people? 19 question.
20 A I donot. 20 Q (BY MR. HOYT) Well, you -- you could tell because
21 MR. HOYT: Let's mark this as Exhibit 30. 21 she made several requests about the plaintiff's
22 It's a email on January 4, 2018. 22 deposition. So it was your belief it was
23 (Whereupon, Exhibit 30 was then marked.) 23 important to her that that deposition be taken,
24 A Qh, thanks. Excuse me. 24 correct?
25 Q (BY MR. HOYT) So this is an email you received from |25 A It would appear so, yes,
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1 Dawn Wagner on January 4, 2018? 1 Q. And you say, Thanks. We have not taken depo. But
2 A It would. 2 then you say the discovery deadline. Didn't you
3 Q_ And she’s asking for an outline on your defense 3 think that would suggest to her that you were
4 strategy going forward with regard to our 4 going to do it before the deadline?
5 discovery request, key witnesses. And she says, 5 A Well, I was telling her that that opportunity
6 Would like to know when you plan on deposing the 6 would exist until that time.
F plaintiff and/or conducting additional 7 Q_ But you had already decided you were not going to
8 investigation. So to this point you still have 8 take it?
9 not given her an outline of a defense strategy? 9 A I didn't think we needed to at that time, correct.
10 A Boy, I don't -- I don't know. There -- there are 10 Q_ But you didn't tell her, I don't think we need to?
11 those letters where we went back and attempted to /|11 A_ I -- not that 1 can tell from what you've shown
12 answer her questions, but based on what she's _ 12 me,
13 saying there, it would seem that she doesn't think 13 Q_ Well, in anything else that you can recall?
14 I have done that to date. 14 A Ican—TI do not recall that many things from
15 Q And she wants to know when you plan on deposing 15 back then.
16 the plaintiff. The truth is you never planned on 16 MR. HOYT: This is Exhibit 32. It's a
17 deposing the plaintiff, did you? 17 December 7, 2017 --
18 A Notre -- no, I did not. 18 (Whereupon, Exhibit 32 was then marked.)
19 Q_ And did you -- but you never just told her that, 19 THE WITNESS: Did you intend to give this to
20 that I'm not going to take the deposition, did 20 Jason?
21 you? 21 MR. HOYT: Oh, yes.
22 A I don't know. We had a lot of conversations. 22 MR. SUTTON: Thank you.
23 Q_ And she's -- she wants to know about defense 23 Q (BY MR. HOYT) It's another email from Dawn Wagner
24 strategy with regard to our discovery request. 24 to Kristi Wood at this point. I don't -- Kristi
25 Did you ever tell her you didn't plan to take any 25 Wood, again, who was that?

 

 

 

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